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10

11                                       UNITED STATES DISTRICT COURT
12                                  NORTHERN DISTRICT OF CALIFORNIA
13

14   IN RE CAPACITORS ANTITRUST                         Master File No. 3:14-cv-03264-JD
15   LITIGATION
                                                        MDL Case No. 3:17-md-02801-JD
16   THIS DOCUMENT RELATES TO THE
     DIRECT PURCHASER CLASS ACTION                      DIRECT PURCHASER CLASS’S NOTICE
17                                                      OF RECENT AUTHORITY IN SUPPORT
                                                        OF ITS OPPOSITION TO SECOND
18
                                                        MOTION TO DECERTIFY
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      Master File No. 3:14-cv-03264-JD
      MDL Case No. 3:17-md-02801-JD
       DIRECT PURCHASER CLASS’S NOTICE OF RECENT AUTHORITY IN SUPPORT OF ITS OPPOSITION TO
                                  SECOND MOTION TO DECERTIFY
             Case 3:14-cv-03264-JD Document 2817 Filed 08/04/21 Page 2 of 2



 1           The Direct Purchaser Class (the “Class”) hereby submits the attached recent authority in

 2   support of its Opposition to Second Motion to Decertify (MDL ECF No. 1507): Olean Wholesale

 3   Grocery Cooperative, Inc. v. Bumble Bee Foods LLC, No. 19-56514, 2021 WL 3355496 (9th Cir. Aug. 3,

 4   2021) (“Olean”) (attached hereto as Exhibit A).

 5           The Court previously deferred resolution of Defendants’ Second Motion for Decertification

 6   pending retrial of the Class’s case. MDL ECF No. 1521. On August 3, 2021, the Ninth Circuit granted

 7   rehearing en banc and vacated its April 6, 2021 panel opinion. Olean, 2021 WL 3355496, at *1 (“The

 8   three-judge panel opinion is vacated.”). As the Ninth Circuit’s now vacated April 6, 2021 panel opinion

 9   formed the entire and only basis of Defendants’ Second Motion for Decertification of Direct Purchaser

10   Plaintiff Class Based On New Ninth Circuit Authority, MDL ECF No. 1499, the Class respectfully

11   requests that the Court deny Defendants’ Motion as moot.

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     Dated: August 4, 2021                             Respectfully Submitted,
13
                                                       JOSEPH SAVERI LAW FIRM, LLP
14

15
                                                       By:          /s/ Joseph R. Saveri
16                                                                    Joseph R. Saveri
17                                                     Joseph R. Saveri (State Bar No. 130064)
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                                  SECOND MOTION TO DECERTIFY
